                                     Case 18-20019-EPK                    Doc 25     Filed 08/28/18    Page 1 of 1




                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Frank Investments, Inc.                                                                        Case No.   18-20019
                                                                                 Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Frank Investments, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 27, 2018                                                     /s/ Bradley S. Shraiberg
 Date                                                                Bradley S. Shraiberg 121622
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Frank Investments, Inc.
                                                                     Shraiberg Landau & Page PA
                                                                     2385 NW Executive Center Dr
                                                                     Suite 300
                                                                     Boca Raton, FL 33431
                                                                     561 443 0800 Fax:561 998 0047
                                                                     bss@slp.law




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
